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 5
      Attorney for Defendant
 6    RUBEN CORTEZ-ROCHA
 7                        UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,                )       Case No.: 1:18-CR-00246-DAD-BAM
                                            )
12                         Plaintiff,       )       FINDINGS AND ORDER
13
                                            )
                    v.                      )
14                                          )
     RUBEN CORTEZ-ROCHA,                    )
15                                          )
                           Defendant.       )
16                                          )
17            Pursuant to the parties’ Stipulation and good cause shown, IT IS HEREBY
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     ORDERED that the status conference, currently set for February 11, 2020, is hereby
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     vacated as to defendant RUBEN CORTEZ-ROCHA. It is further ORDERED that a

21 Change of Plea hearing be set for RUBEN CORTEZ-ROCHA on March 2, 2020 at

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     10:00a.m. before the Honorable Dale A. Drozd, and that the time period between
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24 January 15, 2020 and March 2, 2020, inclusive, is excluded from the calculation

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 1 under the Speedy Trial Act Pursuant to 18 U.S.C.§3161(h)(7)(A), B(i) and (iv) for

 2
     the reasons stated in the parties’ stipulation.
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 5 IT IS SO ORDERED.

 6      Dated:   January 9, 2020                       /s/ Lawrence J. O’Neill _____
 7                                                UNITED STATES DISTRICT JUDGE

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